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Attomeys for Defendant, Counter-Claimant,
"` and ames-claimant mRNATIONAL
8 F[DELITY INSURANCE COMPANY
9 UNH'EI) STAIES msch COURT
m CENTRAL DISTRICT 01= cAL[FORMA - wESTERN DMSIQN
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12
NAC[M]ENTU WATER CCJMPANY, Case No. CV13-D?959 DDP
l 13 INC., a California corporation, MWX)
14 Plaintiff,
INTERNATIONAL FI]JELITY
15 vs. [NSURANCE COI\[FANY’S
WTERNATIONAL FIDELIT‘!' CDU§TERCNLH§IPI AN]J
15 INSURANCE comm a New cLAIM= ’ CRDSS'
1? Jersey_mrpumnon ANI) DE)ES 1-20,
mcluslve, 1. Breach of Contract
1
s Defendants. 2. Statutury Ilulemllitj»r
19
20 INTERNATIONAL PIDELITY 3' SP“m° P*"f°""'“”°°
INSURANCE COWANY, a New 4. Quia Timet
2} J '
mey corporation 5. De¢:laratury Relief
22 Cnunterciaimant and
23 '
Cmss“lmmm’ nEMAND FoR mar TRIAL
24 vs.
25
,,, 26 NACI]MIENTO WATER COI\»[PANY,
INC., a California culporation; SMS
2':' RESORTS, INC., a Ca'.lifumia
23 cnrporation; JOI-IN E. KING; CAROLE
gaming E. KING; JONATKM ENTE.RPRISES,
` .MM nEvELoPEns rsme mo mnF.MNm cnmm’s Fms'r AMENnEu mumncmm mo
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a California general partnership; OAK
SHGRES 11 SPE, LLC, a Nevada limited
liability company, previously named
herein as ROE i; and ROES 2 through

 

 

 

10 lnclpsive,
Counterdefendant and
Crossdefendants.
I.
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Defendant, crossclaimant and counterclaimant INTERNATIONAL
F[DELITY INSURANCE COMPANY (“IFIC”) hereby demands a jury trial as to
all issues and causes of action on which it has a right to trial by jury herein.

l[.
FIRST A]\'_'[ENDE]]' COUNTERM AND CROSSCLAIM
JURISDICTIO AND VE

1. This proceeding is instituted pursuant tc 23 U.S.C. section 1332, in

that the amount in controversy exceeds $?5,000, exclusive of interest and costs, and

there exists complete diversity of citizenship between and among IFIC, on the one
hand, and all other parties to this acticn, on the other.

2. Venue is proper in the United States District Court for the Central
District of Califomia, 1Western Division, because the events cr omissions occurred
therein, and the Plaintiff and Crossdefendants reside or have their principal place of
business located within the District. -

PART[ES

3. 11le is a New .Iersey corporation with its principal place of business in
Newark, New Jersey. IFIC is an admitted surety insurer authorized to engage in the
business of suretyship in the State of Califomia, among other jurisdictions, in the

course of which it issues surety bonds, among other bonds and lines of insurance.

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1 4. Plaintiff` and counterdefendant NACIMT_ENI`O WATER CDMPANY,
INC. (“Water Co.”) is a Califomia corporation with its principal place of business
in the Ccunty of San Luis Dbispo, California. 1Water Co. is, and at all times herein

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mentioned was, a privately held corporation engaged in business as a water
company for profitl

5. crossdsrendme Jom~i a. mo and assets D. KING (cansaway
and individually “King”) are individuals residing in the County of San Luis Obispo,
California.

d. Crossdefendant SMS Resorts, lnc. [“Resorts”) is a Calit`omia
111 corporation with its principal place of business in the County of San Luis Obispo,

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11 Califcmia.

12 ?. Crossdefendant JONA'I'KI[\J ENTERPRISES (“Jonatkim“) is a
13 Califomia general partnership with its principal place of business in Anaheim,
14 California.

15 S. Crossdefendants named as R{JES 2 through 10, inclusive, are

115 assignees, heirs, grantees, and successors-in-interest to King, and other persons
12 holding, or claiming to hcld, an interest in the real property in issue in this
13 litigation, which is Tract 2162, Phase l, San Luis Obispo County, 'California,r the
19 recorded Tract Map for which was recorded in the official records of the San Luis
211 Obispo County Recorder on Oetober ?, 2003 as Document No. 2003-115530, and
21 all real property contained therein (the “Subdivision”).

22 9. Crossdefendant OAK SHORES II SPE, LLC (“Oak Shores”), is a
23 Nevada limited liability company whose members are individuals residing in the
24 State of Nevada, with its principal place cf business in the State of California.
25 Crcssdefendant Oak Shores was previously named in lFIC’s original Answer,
25 Counterclaim and Crossclaim, by the fictitious name of ROE l, and its true name of
22 OAK SHORES II SPE, LLC is hereby substituted in place of said fictitious name.

 

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FIRST AMENI]ED COUNTERCLA[M AND CRDSSCLAIM

 

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1 l On information and belief, Oal; Shores is the current owner of most or all of the
Subdivision by a trustee’s deed, as the successful purchaser at a foreclosure in
De-eember, 2013, and is a successor»in-interest to ang as father alleged

hereinbelow.

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10. The true names and capaciti+ml whether individual, corporate, associate
or otherwise,f of crossdei`endants ROES 2 through 10, inclusive, are unknown to
Plaintiii`, who therefore sues said defendants by fictitious names. Plaintiff will
amend its complaint to show these crossdefendants’ true names and capacities when

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the same are ascertained

111 ll. [FIC is informed, believes and thereon alieges, that at all times herein
11 mentioned, counterdefendant and each of the crossdefendants was an agent, servant,
12 employee, co-conspirator andfor joint venturer of every other of the remaining
13 counterdefendant and erossdefendants, and performed the acts and omissions
14 complained of herein in the course and scope of such agency, service, employment
15 conspiracy and.#'orjoint venture.

15 §ENERAL ALLEQATIONS

12 12. This action involves the development of a subdivision known as Tract
111 2162, Phase l, located in San Luis Obispo County, Califomia, and sometimes
19 described as “Oalc Shores 11" (the “Subdivision"].

211 13. IFIC issued numerous performance bonds and payment bonds on
21 behalf of Crossdefendants King, Rescrts, and Jonatkim, as the bond principals, in
22 connection with various contracts and agreements, including Bond No. 0407462
alleged in the Complaint on file herein and other Bonds (“Bonds”} as follows,
24 related to the following contracts conceming the Subdivision (“Bonded Contracts”}:

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FIRST AMENDED‘ CDUNTERCLAMI 111.1"1|]1'1l CRUSSCLMM

 

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1 Bund Ohlgg` ee Eonded gontract
2
3 040?459 County of San Tract 2162 - Onsite lmprovements and
Payment Luis Obispo Miscellaneous (Ttail and Oak Tree
4 Bond Replacement)
5
040?459 County of San Tract 2162 - Onsite Improvements and
5 Performance Luis Obispo Miscellaneous (T rail and Oak Tree
7 Bond Replaceinent)
1 114014611 enemy er san rea 2162 _ Lakeview have ton and orr
g Payment Luis Obispo Site Fire Access Road lmprovements)
Bond
111
n 040?460 County of San Tract 2162 - Lakeview Drive (Cln and Dl`f
12 Performance Luis Obispo Site Fire Aecess Roa,d Improvernents) Bond
13 040?461 County cf San Tract 2162 - ErosianfSediment Control
Payment Luis Ubispo Plans for Man'na and Access Road
14
Bond
15.
040?461 County of San Tract 2162 - Erosian!Sediment Control
115 Performance Luis Obispo Plaus for Marina and Access Road
11 Bt`.'¢Iid
13 040?462 Water Co. Contract to Supply Water to Subdivision
19 (herein “Water Supply Contract”]
20
21 ' 14. The aforementioned Bond. No. 041]?462 is the surety bond alleged in
22 the Complaint on file herein. Said bond was issued for King’s assumption of
23 Jonatlo'm’s obligations under the Water Supply Ccntract, and was intended by the
24 parties thereto to replace a previous bond in the same amount that Jonatkirn
25 previously provided to 1lilliater Co. Under the terms of Paragraph 3 of said bond, and
25 on information and belief under similar terms of the previous Jonatkim bond, the
211 dollar limit of the surety's potential liability under the bond was to be reduced by
23 all payments received by Water Co. under the Water Supply Contract such that the
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1 l dollar limit ofthe bond would reflect the remaining principal amount of the unpaid
portion of the funds owed by Jonatkim, King, Uak Shores, and ROES 2 through l{},
and their successors and assigns, under Section 4.01 of the Water Supply Contract.
Prior to the date of this First Amended CcunterclainnCrossclaim, Jonatkim, King
and others have paid at least the sum of $190,000.00 to Water Co. under Sections
4.01(i], (ii) and (iii) of the Water Supply Contract, thereby reducing the dollar limit
of said bond to no more than $310,000.00 or such other amount as is according to
proof at trial.

15. On or about February 4, 2004, to induce IFIC to issue bonds,
111 Crossdefendants King and Resorts, and each of them, executed an General
11 Indemnity Ag'reement (“Indemnity Agreement”) in favor of the [FIC under which
12 they promised to “indernnify and exonerate Intemational Fidelity insurance

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13 Company from and against any and all loss and expense of whatever kind,
14 including interest,l court costs and counsel fees" which it may incur or sustain as a
15 result o_f or in connection with “(l) the filmishing of any Bond; (2) the enforcement
15 of this Agreement.” A true and correct copy of the Indemnity Agreement is
11 attached hereto as Exhibit A and incorporated herein by this reference Paragraph
13 3 of said lndemnity Agreement provides that it is “in addition to and not in lieu of
19 any other agreements and obligations undertaken in favor of‘ [FIC.

211 16. On or about Junc 23, 2005, to induce [FIC to issue said bonds,
21 Crossdefendants King, and each of them, executed an additional lndemnity
22 Agreement in favor of tile IFIC under which they promised to “exonerate,
23 indemnify, and keep indemnified [FIC from and against all liability for losses
24 andfor expenses of whatsoever kind or nature (including, but not limited to, interest,
15 court costs and counsel fees) and from and against any and all such losses andfor
215 expenses which the Surety may sustain and incur: (1] By reason of having executed
27 or procured the execution of the Bonds, (2) By reason of the failure of the
23 Contractcr or lndemnitors to perform or comply with the covenants and conditions

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FIHST AMENI]'ED CDUNT'ERCLA]M AND CRUSSCLAIM

 

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1 of this Agreement or 93}1n enforcing any of the covenants and conditions of this
Agceemcnt.” 111 true and correct copy of the lndemnity Agreement is attached
hereto as Exhibit B and incorporated herein by this reference The Sixteenth
Paragraph of said Indemnity Agreement provides that “the Contractor and the
lndemnitors shall continue to remain bound under the terms of this Agreement even
though the Surety may have from time to time heretofore or hereafter . . . accepted

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. or released other agreements of indemnity . . . it being expressly understood and
agreed by the Contractor and the lndemnitors that any and all other rights which the
Surety may have or acquire against the Contractor and the lndemnitors and.lor
111 others under any such other or additional agreements of indemnity or collateral
11 shall be in addition to, and not in lieu of, the rights aHorded the Surety under this
12 Agreement."
13 17. Both of said indemnity Agreements are referred to herein collectively
14 and individually as “lndemnity Agreement” or “lndcmnity Agreements.” Both
15 lndemnity Agreements were in effect at all times relevant hereto.
15 IS. Crossdefendants King, Resorts and `Jonatkim requested that [FIC
11 furnish the Bonds. Relying on, among other things, the Crossdefendants promises
111 contained in the lndemnity Agreements and the stanltm'y indemnity obligations of
151 all principals named in the Bonds, IFIC issued the Bonds.
211 19. Plaintiff Water Co. filed suit herein alleging that Crossdefendants
21 Jonatkitn and King defaulted on the contract referenced in Bond No. 040")'462
22 alleged above by failing to make payment when duc. in addition, Crossdefendants
23 Jonatk:im and King are in default under the contracts that are referenced in Bonds
24 No. 1141]?459, 1140'14611 and 040?461 by failing to complete the construction of
25 subdivision improvements and failure to make payments when due.
215 21]. As the proximate result of Crossdefendants Jonatkim’s and King’s
21 breach of their obligations under the bonded contracts and the Bonds, IFIC has paid
Emmun 23 claims under the Bonds in the total amount of $565,829.1]1] to date. In addition,

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enu¢¢mn. lNTERNATIDNAL FIDELITY INEURANCE CUMFA.NY’S
FlRST AMENDED CDUNTERCLAIM A.HD CRUSSCLAIM

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1 ]IFIC has incurred pre-litigation anomey fees and legal expenses recoverable as
damages under the indemnity Agreements in the approximate amount of
$1?5,000.00, for a total amount of approximately $740,329.00 recoverable under
the lndemnity Agreements together with pre-judgment interest according to statute
and attomey fees and costs of court incurred in this present litigation

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21. IFIC has entered into one or more tolling agreements with the County
of San Luis Obispo concerning the County of San Luis Obispo’s claims against
Bonds No. 04074611 and 0407461. Accordingly, [FIC may pay additional claims
under the Bonds while this litigation is pending, all of which Defendants Jonatl<im
111 and King will be obligated to indemnify as further alleged herein
11 22. The lune 23, 2005 Indemnity Agreement (Exhibit B hereto} further
12 provides that King assigns, transfers and sets over to [FIC, as collateral, to secure
13 the obligations in said lndemnity Agreement and any other indebtedness and
14 liabilities of King to IFIC, to become effective as of the date of the bond in the
15 event of any breach of the lndemnity Agreement or default in discharging other
15 liabilities when due, all of the following: {a] All the rights of King in, and growing

11' in any manner out of, “all contracts referred to in the Bonds, or in, or growing in

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111 any manner out of the Bcnds. . . . ” The Indemnity Agreement further provides that
19 it shall constitute a Security Agreement to [FIC and a Financing Statement in
211 accordance with the Unifonn Commercial Code without in any way abrogating,
21 restricting or limiting.the rights of IFIC under the Indemnity Agreement. IFIC has
22 perfected its security interest in all such rights by filing a UCC-l financing
23 statement with the California Secretary of State as Document Number
24 400'1'?6201]112.

25 23. In addition to IFIC’s rights under the aforementioned assignment of
25 contract rights, IFIC also holds the following statutory and equitable subrogation

21 rights as a surety under the laws of the State of Califomia:
23

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1 a. All rights of plaintiff and counterdefendant 1lir"ater Co., as
2 obligee under Bond No. 041.12462, with respect to the bonded obligation (i.e., the
3 Water Supply Contract) as though that obligation had not been satisfied, effective
4 upon IFIC’s payment under said bond (Golden Eagle lns. Co. v. Firsr Nnn'onwlda
5 Financial Corpordtr`on, 26 Cal.AppAth 160, 169-1211; (lQQ-¢)ReBtement §lhigl
5 of Suretyship grid Guaranty (1995) Section 2?, Comment a), including but not
1' limited to Water Co.‘s rights against parties and non-parties to the bonded contract
3 (W. Worl'd fns. Co. v. Trrrveicrs l'ndam. Co. (Fla. App. 19?3) 358 'So.2d 602, 604
9 (Fla. App. 1978); Gulf lnsurance Company v. 'I'IG Insurance Company, 86
111 Cal.App.~'-lth 422, 434 {201]1);
11 b. rul rights or remain and long re assert ames against
12 Counterdefendant Water Co. related to the bonded Water Supply Contract
13 (Wickersham Co. v. Nr'chofs, 22 Cal.App. 231, 233 (1913]);
14 c. The benth of every security for the performance of the 1ilitl'ater
15 Supply Contract held by Counterdefendant Water Co. at the time when the Bond
15 was issued, or acquired by 1"¢"»)'ater Co. afrerwards, whether IFIC was aware of the
11' security or not (California Civil Code Section 2849);
13 d. The right to require Counterdefendant Water Co. to pursue any
19 other remedy in Water Co.'s power which IFIC carmot pursue, and which would
211 lighten lFIC’s burden;. and if Water Co. neglects to do so, IFIC is exonerated to the
21 extent to which lFIC is thereby prejudiced (Califomia Civil Code Section 2845};
22 and
23 e. All of Water Co.’s causes of action against lonatkim, King, fink
24 Shores, ROES 2 through lt], and their successors in interest, and any of them, and
25 also all causes of action of Jonatkim, King, Oalc Shores, ROES 2 through 10, and
25 their successors in interest, and any of them, against `Water Co. to the extent of
22 recovering all sums paid by IFIC under the Bonds. California Civil Code Section
Mmm 25 2848; fn re Esrore ofEh’aola*e, 182 Cal. 42?, 433 (1923].
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1 l 24. Among [FIC’s rights in assignment and subrogation as alleged above,
2 Paragraph 4.l(iv) of the Water Supply Contract provides that King shall pay a per-
3 lot fee of $5,000.{]0 per each subdivision lot and additional water service in the
4 Subdivision at the time of the sale of Subdivision lots, or, in the event of a bulk sale
5 of five or more subdivision lots by King, Oak Shores, and ROES 2 through 10
5 inclusive, or any of them, then said $5,000.{10 per lot shall be due and payable
1' within lS months after such bulk sale; and, in the event that Crossdefendants King,
3 Oalc Shores, and ROE`.S 2 through ll] inclusive, or any of them, fail to pay such
9 $5,000.(10 per lot fee for any sale of Subdivision lots, then ‘Water Co. shall have the
111 right to refiise water service to any such lot or lots until the $5,00'0.{11] per lot fee is
11 paid to Water Co. by Counterdefendants and Crossdefendants King, Oalt Shores,l
12 and ROES 2 through ll] inclusive, together with 10% per year interest thereon from
13 the date of the lot sale or sales. Moreover, the Water Supply Contract restricts King
14 from transferring the Subdivision to any person other than a buyer taking
15 assignment of the Water Supply Contract pursuant to the provisions thereon A true
15 and accurate photocopy of said Water Supply Contract is attached hereto as Exhibit
12 C.
13 25. fin information and belief, Water Co. has entered into a memorandum
19 of tmderstanding, contract, or tentative agreementl with Oak Shores and ROES 2
211 through lfl' or others, by which Oalc Shores and ROES 2 through 10, or others,
21 directly or through their agents, plan to take title to at least 53 lots of the
22 Subdivision, complete the development in accordance with the Water Supply
23 Contract, and make payments to the Water Co. in satisfaction and settlement of the
24 obligations under Paragraph 4.01(iv) of the 1lillater Supply Contract, and 1'i'r'ater Co.
25 has agreed to accept such payments.
25 26. IFIC has given Water Co. notice that IFIC asserts its rights as assignee
21' and subrogee to all rights ofKing and 1ti.r'ater Co. to collect the fee of $5,1.1{}0.00 per
wmm 23 lot upon any sale of any portion of the Subdivision and to refuse to provide water
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1 service to King, Oal~: Shores and ROES 2 through 10 inclusive, and others, until
2 Counterdefendants King, Oak Shores and ROES 2 through 10 inclusive, and others,
and each of them, pay the sum of $5,000.00 per lot pursuant to Paragraph 4. l(iv) of
the Water Supply Contract.

27. On November 25, 2003, a Memorandum of Agreement giving
constructive notice of the Water Supply Contract was recorded in the official
records of San Luis Obispo County as Document No. 2003-135396, a copy of
which is attached hereto as Exhibit D. By said memorandum of Agreement and
otherwise, Oak Shores and ROES 2 through 10, inclusive, had actual and
111 constructive notice at the time when they acquired all legal, equitable and beneficial
11 interests in the Subdivision and thus took title, and will take title, to the Subdivision
12 and to lots contained therein subject to all requirements and restrictions of the
13 Water Supply Contract, including the restriction orr any sale or transfer of the

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14 Subdivision to anyone who does not assume all obligations ofKing thereunder.

15 28. On July 1, 2005, a Subordination Agreement to Contract to Supply
15 Water to Subdivision was recorded as Document No. 2005-054314 in the official
11' records of San Luis Obispo County, by which USA Commercial lvlortgage
13 Company, as the holders of a deed of trust against the Subdivision subordinated its
19 deed of trust to the Water Supply Contractl Said deed of trust was recorded as
211 Documcnt No. 2005054313 on July 1, 2005 (the “Deed of Trust”). On July 9,
21 2013, the trustee under the Deed of Trust recorded a Notice of Def`ault and Election
22 to Sell as Document No. 2013039922 in the official records of San Luis Obispn
23 County. A copy of the Subordination Agreement is attached as Exhibit E.

24 29. IFIC has also recorded a Notice of Pendirrg L_itigation (Lis Pendens}
25 concerning its Counterclaim and Crossclaim previously filed in this action, giving
25 notice of IFIC’s rights and this present litigation, which was recorded as Document
21r No. 2013061130 on Octobcr 29, 2013.

 

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FIRST AMENUEI] CDUNTERCLAIM ANI.'¢ CRD§SCLMM

 

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1 30. IFIC is informed and believesl and on that basis alleges, that Oak
2 Shores and ROES 2 through 10, and each of them, now hold a legal, equitable or
3 benedcial interest in the Subdivision1 or in one or more lots thereof, through a real
4 estate purchase connect for the purchase of the Subdivision, or a portion thereof, or
5 otherwise; or will take title to the Subdivision, or one or more lots therein, through
5 the foreclosure sale orr the Deed of Trust; or otherwise now hold or will hold an
1' interest in the Subdivision or one or more lots thereof at the time when judgment is
3 entered herein.

9 31. Pursuant to the 1t’¢'ater Supply Contract, the recorded Memorandum of
111 Agreement and the recorded Subordirration Agreement, and any other agreements
11 entered into between or among the Water Co. and others,r Gak Shores and ROES 2
12 through 10, inclusive, are obligated under the Water Supply Contract immediately
13 upon close of any sale of one or more lots, or within 18 months after any sale of 5
14 or more lots of the Subdivision, to pay the sum of $5,000.00 per month to Water
15 Co. In the event that [FIC makes any payment to Water Co. as sought in the
15 Complaint, then IFIC shall have the right, as alleged above, to recover from King,
12 Dak Shores, ROES 2 through 10, and others, and each of thern, the sum of
13 $5,000.00 per lot plus 10% interest per year and to require Water Co. to relirse to
19 provide water service to any and all such lots under the Water Supply Contract until
211 said sum is paid. The Water Supply Contract having been subordinated to the Deed
21 of Trust, all obligations of Counterdefendant and Crossdefendants under the 1lilr'ater
22 Supply Contract shall survive any foreclosure sale under said Deed of Trust.

23 32. Moreover, in the event that Oak Shores and ROES 2 through 10,

24 irrclusive, or any of them, and any other successor~in»interest to King, fails to

25 assume all of King’s obligations as subdivider under the Water Supply Contract,

25 then such Crossdefendants and others took title and will take title subject to the

22 restriction on the Subdivision that Water Co. may refuse to provide any water

snmlm 23 service to said lots until 1illster Co. receives payment in the amount of $5,000.00 per
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Frnsr manson counrsncr.arsr ann cnosscr,arsr

 

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|_l

lot plus 10% interest from Oalt Shores,l ROES 2 through 10 and any other

2 successors in hrterest to King.
3 33. las of the date of this filing, Crossdefendants King, Resorts and
4 Jonatkim, and each of them,l have failed and refused to satisfy and discharge their
5 respective statutory and contractual obligations to indemnify fFlC; Crossdefendants
5 King, Oak Shores and RDES 2 through 10, inclusive, have failed to make the
1' aforementioned payment of $5,000.00 per lot; and Counterdefendant Water Co. has
3 disputed mar IFIC is subrogated ro, and that IFIC otherwise has, the right to collect
9 and enforce all payment obligations of King, Oak Shores, ROES 2 through l0 and
111 others under the Water Supply Contract and any related agreement as alleged herein
11 as subrogee to all such payment obligations upon payment made to King; and the
12 right to require 1llll'ater Co. to enforce its right to refuse to provide water service until
13 it receives payment of said $5,000.00 per lot and the rights of King, Oak Shores,
14 ROES 2 through 10, inclusive, and others to require payment of said $5,000.00 per
15 lot from any purchaser as set forth in the Water Supply Contract.
15 34. ln addition to the foregoing, under the terms of the lndemnity
17 Agreements, and each of them, said defendants promised to deposit collateral with
13 ][FIC upon demand therefor in the amount of any reserve that [FIC may set on
19 account of an asserted liability, whether or not IFIC has made any payment
211 therefor, and to make payment to IFIC as soon as liability is asserted against IFIC
21 n equal to the amount of such reserver
22 35. [FIC has established a reserve in the amount of $305,000.00 as of the
23 date of this crossclaim based upon the liability asserted by Water Co. herein and has
24 made demand on Crossdefendants King, Resorts and Jonatlcim, and each of them,
25 to deposit collateral with IFIC in that amount. Said Crossdefendants have failed
25 and refused to post collateral with lFIC in the amount of that demand, and in any
27 other amount.
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FIRST AMENDE|} CDUNTERCLA[M AND CR{}SEC LAIM

 

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r §§llm

2 (Breaelr of Contract - lndemnity Agreements

3 Against King, Resorts)

4 36. [FIC re-alleges and incorporates by reference the allegations contained

5 in all of the preceding paragraphs of this Counterclaim and Crossclaim.

5 3?. Crossdefendants King and Resorts have breached their obligations

1 under the lndemnity Agreements in that they have failed, and condone to fail to

3 exonerate, indemnify and save lFIC from and against all loss as a result of having

9 issued the Bonds (and each of them), which are express obligations under the
111 Indenmity Agreements.

11 38. Crossdefendants have also breached their obligations under the
12 lndemnity Agreements in that they have failed to deposit collateral with lFlC in the
13 amount of reserves set by IFIC as of the date of this first amended crossclaim, and
14 in such other amount as may be established and demanded by IFIC from time to
15 time.

15 39. [FIC has perfonned, or has been excused from perfonning, all of the
12 terms, covenants and conditions orr its part to be performed under the lndemnity
13 - Agreernent, if any exist. n
19 - 40. IFlC has incurred and will condone to incur losses, attemcy fees, costs
211 and expenses as a result of said Crossdefendants’ material breaches of the
21 Indenmity Agreement.
22 1111 As a result of the said Crossdefendants’ material breaches of the
23 lndemnity Agreement, the lFlC has incurred a loss in the amount of $?40,829.00 to
24 date and estimates an additional loss in excess of $300,000.00 for a total estimated
25 at $1,040,829.00 or such other amount to be proven at trial.
25 WHEREFDRE, lFIC prays for judgment as set forth below.
27 111

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1 §QUNT II

1 f§.n!"_fm'v_M

3 l Against §qu, §§o$, Jorratldm}

4 42. IFIC re-alleges and incorporates by reference the allegations contained
5 in the preceding paragraphs of this Crossclaim and Courrterclaim.

5 43. Under California Civil Code section 234?, if a surety satisfies a
1 principal obligation, or any part thereof, whether with or without legal proceedings,
5 the principal is obligated to reimburse the surety for ali disbursements, including,
9 but not limited to, attorneys' fees, costs and other expenses.

111 44. IFIC is informed and believes and thereon alleges that as a result of
1 1 having issued the Bonds, IFIC has incurred a loss (exclusive of attorney fees) in the
12 amount of at least $565,829.00 and will suffer an additional loss in the estimated
13 amount of $3[10,1]00.1]1], or such other amount according to proof at trial, which loss
14 must be reimbursed by Crossdefendants King, Resorts and lonatkirn under Civil
15 Code section 2847.

15 WHEREFORE, [FIC prays forjudgment as set forth below.
11 COUN'I` I]]

18 {Sg§ific Perfurrnance - lndemni§y Agreements
19 Against grossdefelrdan§ King and Resorts}

211 45. IFIC re-alleges and incorporates by reference the allegations contained
21 in the preceding paragraphs of this Crossclaim and Counterclaim.

22 46. IFIC is entitled to an order compelling Crossdefendants King and
23 Resorts to specifically perform the terms and conditions of the lndemnity
24 Agreements by not only indemnifying [FIC as alleged above, but also by posting
25 collateral security with IFIC in an amount equal to its set reserves, in the amount of
25 $305,000.00 or such other amount of reserves as IFIC may establish and demand
21 li'om time to time.

 

 

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FIRST AMENDE[I' CUUNTERCLMM ANI} CRUSSCLAIM

 

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1 u 4'1. lFIC now seeks an Order from this Court compelling Crossdefendants
2 King and Resorts, by specific perfonnance, to comply with the lndemnity
2 ' Agreements by posting said collateral with IFIC in an amount according to proof

4 WHEREFORE, [FIC prays forjudgrnent as set forth below.

5 QOUN'I` ]§1_

5 [f. foia ‘I`imet - lndemni!y Agreemegg

1 ai rossd endants Kin and arts

5 48. IFIC re-alleges and incorporates by reference tbe allegations contained
5 in the preceding paragraphs of this Crossclairn and Counterclaim.

111 49. IFIC is reasonably concerned that it may incur immediate and

11 substantial loss and expense under the Bonds.

12 511 Crossdefendants King and Resorts, and each of them, are obligated

13 under the doctrine of quia tirnet to post collateral security to [FIC in an amount

14 equal to [FIC’s reasonably anticipated potential loss and expense, regardless of

15 whether said sum has been actually incurred, as the result of cr in consequence of

15 lFIC having issued the Bonds.

11 WHEREFORE, lFIC prays forjudgment as set forth below.

rs C UNT V

15 Declarato Relief - Wate Su l outract

211 gainst Count£rdefegdant and Jtllll Crossdefeudauts}

21 51. IFIC re-alleges and incorporates by reference the allegations contained

22 in the preceding paragraphs of this Crossclaim and Counterclaim.

23 52. IPIC contends, and Counterdefenda.nt Water Co. and all

24 Crossdefendants, and each of them, deny, that IFIC is the assignee of all of King’s

25 rights under the Water Supply Contract pursuant to the assignment provisions of the

25 lndemnity Agreernents.

21 53. A dispute has arisen and now exists in that IFIC, on the one hand, and
whom 25 Counterdefendant and all Crossdefendants, on the other, disagree concerning the
"§EW:.““ mrsassrrorrsr. steamva issuance cont-saws

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1 meaning and construction cf Paragraph 4.01 of the Water Supply Contract in that,
2 among other things, IFIC contends, and 1'\11'ater Co. denies, that Water Co. has a
3 continuing right to enforce the $5,0'[1{1.110 per lot payment obligation under
4 Paragraph 4.Gl(iv) by refusing to provide water service to any transferee of any
5 such lot until receipt of said payment; that the payment obligations of King, Oak
5 Shores, ROES 2 through 10 inclusive, and other successors in interest, are not
1 exonerated by any payment made by IPIC under the Bonds, but rather IFIC
5 becomes subrogated to said rights; and that Water Co. is not entitled to obtain a
5 double recovery by collecting said sums from both IFIC and also h'om any present
111 or future developer or owner of the Subdivision or lots, but rather, upon I[FIC’s
11 satisfaction of the obligation to pay 1`lllater Co. Lmder Paragraph 4.01(iv), King‘s
12 obligation to 1slater Co. will have been satisfied in full and lIFIC (rather than Water
13 ca1 win became entered m santa said sums sam Krng, oak shown seas 2
14 l through 10 inclusive, and any other present or firture successor-in-interest or other
15 owners of lots in the Subdivision, and timber disagree concerning the dollar limit of
15 l [FIC's potential obligation under the bond in issue in the Complaint, and IFIC’s
11 right to be exonerated thereunder by California law.
15 54. A further dispute has arisen, and now exists, in that IFIC contends, and
15 Counterdefendant Water Co. and all Crossdefenda.nts, and each of them, deny, that
211 l lFIC holds subrogation rights as a surety such that, in the event of IFIC’s payment
21 to Water Co. as demanded in the Complaint on file herein, and effective
22 ' inunediately upon said payment, IFIC shall be subrogated to all rights of 11rllrl'ater Co.
25 to require Oalt Shores, ROES 2 through I{l, inclusive, and any other successor-in-
24 interest as owner or developer of the Subdivision (whether or not named as a
25 crossdefendant berein}, to assume all ofKing’s obligations under the 11lister Supply
25 Contract, including but not limited to the obligation to pay the sum of $5,{]0{1 per
21 lot to reimburse [FIC for any sum it pays to Water Co. under the Bond; all rights of
B#;::;:o 25 King, Oak Shores, ROES 2 through 10 ilr;clusive, and any other such successorl to
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1 require payment of $5,000.00 per lot in the Subdivision to apply to reimburse [FIC
2 for any sum it pays to 1l'liater Co. under the Bond; and all rights of 11'.’Jater Co. to
3 require payment of $5,000.0{1 per lot in the Subdivision from owners and
4 transferees (including but not limited to King, Oak Shores, R(}ES 2 through ltl
5 inclusive, and their respective assignees, transferees, and successors-in-interest) for
5 each water service provided to each such lot; and that IFIC has the right to compel
1 Water Co. to enforce the payment obligation of $5,1100.0{] per lot to IFIC to
5 reimburse IFIC as a condition of the provision of any service to any such lot.

5 55. A further dispute has now arisen and now exists in that IFIC alleges,
111 and crossdefendants deny, that IFIC’s liability to Water Co. to pay sums owed
11 under the Water Supply Contract is secondary and derivative, and that the liability
12 of crossdefendants King, Oak Shores, ROES 2 through 10 inclusive, and their
15 successors and assigns, is primary, such that [FIC is entitled to equitable indemnity
14 from said crossdefendants in the full amount of any sum that IFIC pays to Water
15 Cc. based upon the allegations of the Complaint on tile herein.

15 56. IPIC now seeks an order of this Court declaring the rights, obligations
11 and duties of lFIC, Counterdefendant Water Co., and Crossdefendants King, Oa|r
15 Shores, ROES 2 through 10, and their successors-in-interest, and each of them, and
15 specifically declaring that:
211 (a) IFIC holds subrogation and assigrunent rights as a surety such
21 that, in the event of lFIC’s payment to 1lilliater Co. as demanded in the Complaint on
22 tile herein, and effective immediately upon said payment,f IFIC shall be subrogated
23 to all rights of Water Co. to require Clak Shores and ROES 2 through 10, inclusive,
24 and any other successor-in~intereet, developer or lot owner, to assume all of King’s
25 obligations under the 1rllr'ater Supply Contract, including but not limited to the
25 obligation to collect $5,000.00 per lot to apply to reimburse IFIC for any sum it
21 pays to Water Co. under the Bond; all rights of King, Oak Shores and ROES 2
smmm 25 through 10 inclusive to require payment of $S,UUO.UU per lot from all purchasers of
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1 lots in the Subdivision to apply to reimburse IFIC for any sum it pays to Water Co.
2 under the Bond; and all rights of 1lil'ater Co. to require payment of 515 ,0[10.0~0 per lot
5 from all purchasers of lots in the Subdivision [including but not limited to King,
4 flalt Shores, ROES 2 through 10 inclusive, and their respective assignees,
5 transferees, and successors-in-interest] for each water service provided to each such
5 lot; and that [FIC has the right to compel Water Co. to enforce the payment

1 obligation of $5,0{10.{10 per lot to IFIC to reimburse lFlC as a condition of the

5 provision of any service to any such lot.

5 (b] Upon payment to Water Co. by [FIC, King, Oak Shores, ROES
111 2 through 10, inclusive, and their successors and assignees, shall owe the sum of
11 $5,000.11{] per lot under the Water Supply Contract to IFIC and not to 1Water Co. {or
12 otherwise declaring to whom the $5.000.00 per lot is owed, and by whom, and in
15 what amount to each obligeel'payee, as of the date of entry of judgment herein).

14 (c) If and to the extent that Water Co. collects the sum of $5,01]1].11{]'
15 per lot under the Water Supply Contract from King, Oalc Shores, ROES 2 tluough
15 10, inclusive, or any other person, IFIC’s obligation to `Water Co. under the bond is
11 reduced by said payment.
15 {d) If and to the extent that Water Co. fails and refuses, or has failed
15 and refused, to enforce the $S,UD~G.il-ll per lot payment obligation under Paragraph
211 4.Ul(iv} of the 1l`lll'ater Supply Contract by refusing to provide water service to any
21 transferee of any such lot until receipt of said payment (which ll'~`lC requests that
22 this Court find to be the case), [FIC is exonerated under the bond in issue in the
25 Complaint (bond no. 041.1'?462).
24 (e) Upon payment made by IFIC to Water Co. under said bond,
25 Crossdeferrdants King, Oak Shores and RUES 2 through 10, and their successors
25 and assigns, will be obligated to indenu_iify IFIC in whole or in part against all sums
21 that lFIC pays to Water Co. to satisfy the obligations of King, Oalc Shores, and
hunan 25 ROES 2 through 10 under the Water Supply Conu'act.
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1 '(t) The dollar ritttrt sat forth rtr ute bend rtt issue itt the Ctrmprttrtrt
2 (bond no. 0407462) was reduced, pursth to Section 3 of said bond, by the sum of
5 3190,000.00 previously paid to Water Co. under the 11llr'atrer Snpply Contract by
4 Crossdefendants Jonatkim and Kirrg, such that the current maximum limit of the
5 principal amount of [FIC’s liability to 11i'rr'ater Co. (if any such liability is found to
5 exist) is SSID,OUU.UU or such other amount as is according to proof at uial.
1 WHEREFORE, IFIC prays for judgment as set forth below.
5 PRAYER FQB REL]]i§F
5 WI-[EREFORE, IFIC prayer
111 l. That IFIC be awarded money damages against Crossdefendants,
11 and each of them, in the amount of at least $31.10,{]00.00 or such amount as shall be
12 awarded at the trial of this action;,
15 2. For prejudgment interest on said damages;
14 3. For an order of specific performance compelling
15 Crossdefendants King and Resorts, and each of them, to post collateral to [FIC in
15 an amount according to proof;
11 4. For an order under the doctrine of quia timet compelling
15 Crossdefendants King and Resorts, and each of them, to post collateral to IFIC in
15 an amount according to proof;
211 5. 1l"or an order of this Conrt declaring the rights, obligations and
21 duties of the parties to this Counterelaimr'Crossclaim, and specifically declaring
22 that:
25 (a) lFIC holds subrogation and assignment rights as a surety such
24 that, in the event of lFlC’s payment to 1r‘llater Co. as demanded in the Complaint orr
25 file herein,r and effective immediately upon said payment, lFIC shall be subrogated
25 to all rights of Water Co. to require Oak Shores and ROES 2 through 10, inclusive,
21 and any other successor-in-irrterest, developer or lot owner, to assume all of K_ing‘s
EMMM 25 obligations under the 1l'tr'ater Supply Contract, including but not limited to the
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obligation to collect $5,000.00 per lot to apply to reimburse lFIC for any sum it
pays to Water Co. under the Bond; all rights of King, Oak Shores and ROES 2
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lots in the Subdivision to apply to reimburse [FIC for any sum it pays to Water Co.
under the Bond; and all rights of Water Co. to require payment of $5,000.00 per lot
from all purchasers of lots in the Subdivision (including but not limited to King,
Clalt Shores, ROES 2 through 10 inclusive, and their respective assignees,
transferees, and successors-in»irrterest) for each water service provided to each such
lot; and that l]"`IC has the right to compel Water Co. to enforce the payment
obligation of $5,000.00 per lot to IFIC to reimburse IFIC as a condition of the
provision of any service to any such lot.

(b) Upon payment to 1ltlrl'ater Co. by IFIC, then King, Oak Shores,
ROES 2 through 10, inclusive, and their successors and assignees, shall owe the
sum of $5,000.00 per lot under the Water Supply Contract to IFIC and not to 11tir'ater
Co. (or otherwise declaring to whom the $5,000.00 per lot is owed, and by whom,
and in what amount to each obligeer'payee, as of the date of entry of judgment
herein).

(c) If and to the extent that Water Co. collects the sum of $5,000.00
per lot under the Water Supply Contract fi'om King, Dak Shores, ROES 2 through
10,f inclusive, or any other personsl fFIC’s obligation to 1tir'ater Co. under the bond is
reduced by said payment.

(d) If and to the extent that Water Co. fails and refuses, or has failed
and refused, to enforce the $5,000.00 per lot payment obligation under Paragraph
4.0l(iv) of the Water Supply Contract by refusing to provide water service to any
transferee of any such lot until receipt of said payment (which IFIC requests that
this Court find to be the case), IFIC is exonerated under the bond in issue in the
Complalnt (bond no. 0407462).

- 21 -.
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(e) Upon payment made by IFIC to Water Co. under said bond,
Crossdefendants K'rng, Oalt Shores, and ROES 2 through 10, and their successors
and assigns, will be obligated to indemnify IFIC in whole or in part against all sums
that [FIC pays to 11slater Co. to satisfy the obligations of King, Oak Shores, and
ROES 2 through 10 under the `Water Supply Contract.

(f] The dollar limit set forth in the bond in issue in the Complaint
{bond no. 040?462} was reduced, pursuant to Section 3 of said bond, by the sum of
3190,000.00 previously paid to Water Co. under the 1tlrlater Supply Contract by
Crossdefendants Jonatkinr and King, such that the current maximum limit of the
principal amount of [FIC’s liability to Water Co. (if any such liability is found to
exist) is $310,000.00 or such other amount as is according to proof at trial.

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12 6. For attorney fees to the extent recoverable under contract and
15 applicable law;
14 'i'. For costs of suit incurred herein; and
15 E. For such other and further relief as the Conrt may deem just and
15 proper.
11

Datetl: Innrrat*y E, 20.14 SALAI\¢T[RAD M{)RROW P.C.

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Alr Salanrirad
21 Teresa L. Pollt
Attomeys for Defendant,
22 Counterclarmant and Crossclaimant
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EXHIBIT A

 

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following mpracontalions clfacl, promisesand agreements

REFRESEHTATIDHE DF FACT l

1. |n lhir outreaclion o|' buslnass ons, some or all of the lodor'nritrxo ore raqulred. or may desire to give
such Bonds.

2. The lndemnitors have a subctarrtlal. material and benefich interest in the obtaining of Eonds by any of
lbo |odamnltu'{o} end lt is understood that the purpose of this Agmon'ronl la to induce lntemaljonal
Fldellty hindrance Eonmanyto li.rmlsh bonds lo lndemnitor{s].

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3. Thls degree-mont shall apply to bonds lilmlchad as loilc\vs:

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Fldodty lltsr.rrance company by any other cc-strcly, ll'r strict event scott surety or co-sr.rrery shall also
have the benefit cl this agreement and the right to proceed lhoreon.

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tel For-aron behalf ct any of rha following: SEN'|' 110 Ho

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